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Case 3:19-CV-00200-N-BN Document 3 Fl|ed Ol/25/JQNGML]HZSPN1ED;MQMI§YSBPEXAS
IN THE UNITED STATES DISTRICT COU IJ[[JEI)

 

 

 

 

 

 

 

 

 

 

NORTHERN DISTRICT OF TE{AS
DALLAS DIVISION DEC ll mma
ROGER HARRY OLSON, ll,
M OV an t , CI],BEyRK, U.S. DISTRIC§`C|('),U_RT

 

 

 

UNlTED STATES OF AMERICA,

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v. l No. 3:1d tv 153n I\P““’P“ty
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Respondent. |

 

MOTION FOR RELIEF FROM A FINAL JUDGMENT
COMES NOW, the Movant, Roger Harry Olson, Il, ln Forma
Pauperis and Pro Se form, pursuant to the Federal Rule of Civil
Procedure 60(b)(6), and respectfully requests for this Honorable
Court to reconsider the manner in which it ajudicated the merits
of the above action. ln support thereof, the Movant avers as
followS:
A. Applicable Background
1. On September 25th, 2015, after the denial of a motion
to suppress, the Movant, pleaded guilty, unconditionally, to two
controlled substance offenses and was sentenced to 180 months of
imprisonment, to be served consecutively with any sentence imposed

in his parallel state proceedings. See United States v. Olson, No.

 

3:15-cr-29-N (1) (N.D. Tex.), Dkt. No. 46 and 65. The United States
Court of Appeals for the Fifth Circuit affirmed the Movant's

conviction and sentence on February 20th, 2017. See United States

 

v. Olson, 849 F.3d 230 (5th Cir. 2017)(per‘curiam). He did not c
seek review in the United States Supreme Court.
2. On June 12th, 2018, the Movant filed an untimely § 2255_'

motion to vacate, set aside, or correct his federal sentencea See

th. Nos. 1 & 2, in the above civil case. This Court ordered the

 

 

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Movant to show cause in writing why his motion should not be
Summarily dismissed as time-barredi §§§ Dkt. No. 4. The Movant
responded by arguing that he was deliberately deceived by American
Leading Edge Research Team (ALERT) as to the representation he will
receive and the timeliness of the motion to vacate. For that matter,
the Movant contended that extraordinary circumstances existed which
warranted tolling of one-year statute of limitations found in 28

U.S.C. § 2255(f), pursuant to United States v. Wynn, 292 F.3d 226,

 

230 (5th Cir. 2002).

3. On or about September 26th, 2018, a Magistrate Judge
recommended that the Movant's § 2255 motion be dismissed as time-
barred. §§§ Dkt. Nos 6. In support thereof, the Magistrate Judge
found that ALERT was negligent in calculating the date that the
§ 2255 motion was due to be filed. ld. at 8. For that matter,
the Magistrate Judge pointed to the Court's holding ianousin v.
Lensing, 310 F‘3d 843, 848-49 (5th Cira 2002), for the proposition
that mere attorney error or neglect is not an extraordinary
circumstance warranting equitable tolling. ld.

4a On November 19th, 2018, this Honorable Court adopted the
Magistrate Judge's findings, conclusions, and recommendation, and
entered a judgment dismissing the § 2255 motion as time-barred.l §§e
Dkta Nos. 9 and 10. lt is from this judgment that the Movant seeks
relief6

Ba ARGUMENT AND AUTHORITIES
l. Standard of Review:

The United States Court of Appeals for the Fifth Circuit

reviews a denial of a Rule 60(b) motion for abuse of discretion.

Diaz v. Stephens, 731 F.3d 370, 374 (5th Cir. 2013). Under this
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standard, "[i]t is not enough that the granting of relief might
have been permissible, or even warranted[-]denial must have been
so unwarranted as to constitute an abuse of discretion." ld.

(quoting Seven Elves, lnc., v. Eskenazi, 635 F.Zd 396, 402 (5th

 

Cirs 1981)).
ll. Argument:

THE MOVANT'S § 2255 MOTION UNTIMELYNESS SHOULD BE
EXCUSED AS A PROCEDURAL DEFAULT UNDER MartiD€Z V.
§X§E, 566 u.s. 1, 132 S. cta 1309, 182 Li Ed. 2d
272 (2012), and Trevino v. Thaler, 569 USS. 413,
133 S. Cta 1911, 185 L. Ed» 2d 1044 (2013).

 

Rule 60(b) provides generally that the court may relive
a party from a final judgment, order, or proceeding in the event
of obvious error such as mistake or inadvertence, newly discovered
evidence, or frauda §e§ Fed. R6 Civ. P. 60(b)(1)-(3)¢ Rule 60(b)
(6), often referred to as the "catchall" provision, also permits
the court to relieve a party from judgment for "any other reason
that justifies relief." Fed. R. Civ. P. 60(b)(6). The Fith Circuit
has cautioned, however, that "[t]he desire for a judicial process
that is predictable mandates caution in reopening judgments."
Carter v. Fenner, 136 F.3d 1000, 1007 (5th Cir. 1998)(quoting
Bailey v. Ryan Stevedoring Co., 894 F.2d 157, 160 (5th Cir. 1990)).

 

Accordingly, relief under Rule 60(b)(6) is only appropriate upon
a showing of "extraordinary circumstances€" Rocha v. Thaler, 619
F.3d 387, 400 (5th Cir. 2010). The Supreme Court has stated that
"[s]uch circumstances will rarely occur in the habeas contexti"

Gonzalez v. Crosby, 545 U@S. 524, 535, 125 S. Ct. 2641, 162 L.

 

Ed. 2d 480 (2005). furthermore, a change in decisional law does

not, on its own, constitute an "extraordinary circumstance"

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warranting relief from judgment. Adams v. Thaler, 679 F.3d 312,
319 (5th Cir. 2012)(citing Bailey, 894 F.Zd at 160); §§§ §l§g
Gonzalez, 545 U.S. at 536. "[T]his rule applies with equal force
in habeas proceedings under the Antiterrorism and Effective Death
Penalty Act ("AEDPA")." édam§, 679 F.3d at 320 (internal quotations
omitted)a

ln Buck v. Davis, the Supreme Court explained that in

determining whether a petitioner has demonstrated "extraordinary

' courts may consider a "wide range of factors,"

circumstances,'
which may include "the risk of injustice to the parties' and
'the risk of undermining the public's confidence in the judicial
process.'" 137 S. Ct. 759, 778, 197 L. Ed. 2d 1 (2017)(quoting

Liljeberg v. Health Services Acquistion Corp., 486 U.S. 847, 864,

 

108 S. Ct. 2194, 100 L. Ed. 2d 855 (1988)). The Fifth Circuit
has articulated a number of equitable factors relevant to the Rule
60(b) inquiry:

(1) That final judgments should not lightly be disturbed;

(2) that the Rule 60(b) motion is not to be used as a 11
substitue for appeal; (3) that the rule should be liberally
construed in order to achieve substantial justice; (4)
whether the motion was made within a reasonable time; (5)
whether if the judgment was a default or a dismissal in
which there was no consideration of the merits, the interest
in deciding cases on the merits outweighs, in the particular
case, the interest in the finality of judgments, and there
is merit in the movant's claim or defense; (6) whether

if the judgment was rendered after a trial on the merits

the movant had a fair opportunity to present his claim or
defense; (7) whether there are intervening equities that
would make it ineuitable to grant relief; and (8) any other
factors relevant to the justice of the judgment under attacki
Seven Elves, 635 F¢Zd at 402. Thou h we have never explicitly
held that the "Seven Elves factors bear on the extraordinary
circumstances analysis under Rule 60(b)(6) specifically, we
have used them as a guide in evaluating the strength of a
motion brought pursuant to Rule 60(b)(6). See, e.g., Diaz,
731 F.3d at 377 (stating that "[w]e will assume arguendo
that Seven Elves may have some application in the Rule 60

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(b)(6) context"); Matter of Al Copeland Enters¢, lnc., 153
F»3d 268, 272 (5th Cir. 1998§(noting that several Seven_
Elves factors weighed in favor of sustaining the lower
court's grant of the party's Rule 60(b)(6) motion).

 

The Fifth Circuit has recognized, however, that "in the
context of habeas law, comity and federalism elevate the concerns
of finality, rendering the 60(b)(6) bar even more daunting." gia£,
731 F.3d at 376 n.l. Furthermore, while the viability of a
petitioner's underlying constitutional claim may be tangentially
relevant to the Rule 60(b) analysis, §§§, §;g;, §H§k, 137 S. Ct.
at 778, the Rule may not be used to attack "the substance of the

federal court's resolution of a claim on the merits." Gonzalez,

 

545 U.S. at 532 (emphasis added by the Court); §§e al§g édam§, 679
F.3d at 319. Such motions constitute improper successive habeas
petitions under AEDPAs ld. lnstead, Rule 60(b) motions must allege
"some defect in the integrity of the federal habeas proceedings,"
Gonzalez, 545 U.S6 at 532, and may challenge only erroneous rulings
"which precluded a merits determination[-]for example, a denial
for such reasons as failure to exhaust, procedural default, or
statute-of-limitations bar," ida at na 4.

ln adopting the Magistrate Judge's findings, conclusions, and
recommendation, this Honorable Court found that ALERT was negligent
in calculating the date that the § 2255 motion was to be filed. As
such, "[m]ere attorney error or neglect is not an extraordinary
circumstance warranting equitable tolling." Cousin, §§p£a» ln that
vein, this Court pointed to the Court's holding in United States v.
gigg§, 314 F.3d 796, 799 (5th Cira 2003), that equitable tolling was
not warranted where the movant's attorney gave him incorrect legal
advice regarding the time for filing a 28 U.S.C. § 2255 motion.

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Although the Movant has no constitutional right to the

assistance of counsel in collateral review proceedings, see e.g.,

Pennsylvania v. Finley, 481 U.S. 551, 555, 107 S.'Ct. 1990, 95 Lt

 

Ed. 2d 539 (1987), the Court in Martinez held that "to protect
prisoners with potentially legitimate ineffective-assistance claim,
it is necessary to recognize a narrow exception to [Coleman v.
Thompson, 501 U.S. 722, 732, 750, 111 S. Ct. 2546, 115 La Ed. 2d
640 (1991)] unqualified statement that an attorney's ignorance or
inadvertence in a postconviction proceeding does not qualify asrr
cause to excuse a procedural default, namely, that inadequate
assistance of counsel at initial-review collateral proceedings may
establish cause»" ld. at 182 L. Ed. 2d, at 282-288.

Clearly, the record before this Honorable Court is
sufficiently developed to demonstrate that ALERT's performance in
this cause was inadequate. Therefore, the question of whether the
untimelyness of his § 2255 my be excused turns on whether the
Movant has a legitimate ineffective-assistance of trial counsel
claima lt is respectfully posited that he does.

Although the Movant did not raise his ineffective claim in
the untimely § 2255 motion, there is no bar to amending the motion
pursuant to Fed. R. Civ. P. 15(a)(1) to include the claim that:

MR. OLSON'S COUNSEL WAS INEFFECTIVE FOR FAILING

TO INFORM MR. OLSON THAT BY PLEADING GUILTY HE
WAIVES HIS RIGHT TO CHALLENGE ANY NONJURISDICTIONAL
DEFECTS IN THE PROCEEDINGS.

The record before this Court reflects that a motion to suppress
was filed and denied by this Courta See Dkts No. 28 and 39 (Criminal
case). Also, that after the denial, the movant entered a guilty

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plea unconditionally . Criminal Dkt. No@46. As the Fifth Circuit

stated:

The parties did not enter into a written plea agreement.
Moreover, the record contains no suggestion that Olson
intended to plead guilty conditionally, that he expressed
an intent to appeal the suppression ruling, or that the
government and the court assented to a conditional plea.
Finally, Olson does not contend, and it is not apparent
from the transcript of his rearraignment hearing, that
his plea was involuntary. By entering a voluntary,
unconditional plea of guilty, he therefore waived the
right to challenge the denial of the motion to suppress.

United states v. olson, 849 Fa3d 231 (Sth cir. 2017)(per curiam).

 

As such, a defendant's knowing and voluntary guilty plea
waives all nonjurisdictional defects in the proceedings. Duhart va
United States, 556 F. App'x 897, 898 (11th Cir. 2014). However,

a defendant can still maintain an attack on the voluntary and
knowing nature of the guilty plea itself. Such an attack can be
based upon ineffective assistance of counsel claims that go to the
knowing and voluntary nature of the pleaa ldi

To prevail on a claim of ineffective assistance of counsel,
a defendant must establish two things: (1)"counsel's performance

was deficient, meaning it "fell below an objective standard of

reasonableness,' and (2)"the deficient performance prejudiced the

defense." Strickland v. Washington, 466 U.S. 668, 687-88 (1984).

 

To satisfy the deficient-performance prong, the defendant must
show that counsel made errors so serious that he was not function-
ing as the counsel guaranteed by the Sixth Amendment. ld. at 687a

The defendant must rebut the strong presumption that his counsel's

conduct fell within the range of reasonable professional assistance.

las at 689i

ln Hill v. Lockhart, 474 U.Sa 52, 58 (1985), the Supreme Court

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held that "the two part Strickland v. Washington test applies to

 

challenges to guilty pleas based on ineffective assistance of
counsel»" A defendant may satisfy the prejudice prong by showing

"a reasonable probability that, but for counsel's errors, he would
not have pleaded guilty and would have insistend on going to trial."
Hill va Lockhart, 474 U.S. 52, 59 (1985). A "reasonable probability"
is "a probability sufficient to undermine confidence in the outcome."
Strickland, 466 U.S. at 694.

Here, if the Movant's untimelyness in filing his § 2255
motion is excused by this Honorable Court, then he would argue that
his counsel's failure to inform him that by pleading guilty he
waives the right to challenge the denial of the motion to suppress
on appeal is deficient performance from which he suffered prejudice.
As such, had the Movant been informed of the law, he would not have
plead guilty and insisted on going to trial in order to preserve
his right to challenge the denial of the motion to suppress. "For
a guilty plea to represent an informed choice so that it is
constitutionally knowing and voluntary, the [c]ounsel must be
familiar with the facts and the law in order to advise the defendant
of the options available." Finch v. Vaughn, 67 F.3d 909, 916 (11th
Cir. 1995). ld. at 916 (alteration in original; internal quotation
marks omitted). "The failure of an attorney to inform his client of
the relevant law clearly satisfies the first prong of the Strickland
analysis...as such an omission cannot be said to fall within the
wide range of professionally competent assistance demanded by the
Sixth Amendment." id (alteration in original; internal quotation
marks omitted).

Moreover, the Movant's counsel, elicited the following

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testimony from a government witness which reveals there were no
exigent circumstances justifying a warrantless entry into the
Movant's apartment:
Q. What in imitating a female's voice to you that makes
you believe that somebody is dangerous or conducting
drug activity?
A. Nothing.

Q. Okay, what, in that instance with imitating a female
voice and looking through the peephole, makes you believe
that they were-well, let me ask you this: the car was

not inside the apartment. Correct?
Correct.
The rims weren't inside the apartment. Correct?
Correct.

A.
Q.
A.
Q. So they weren't trying to destroy the rims. Correct?
Aa Right.

Q.

Okay. So what made you believe at that point you had

probable cause to enter inside the apartment. Anything?
A. No.

Q. Okay. What made you believe that they were doing
anything with any evidence that you had no probable
cause to believe was actually inside the apartment?

A. Well, just the delay. The -the constant delay, this

ruse of a voice.
Q. Again, that's not against the law. Correct?

A. It's not against the law, but it’s not common in my
experience of knocking on people's doors, asking to speak
to them, to have them respond in an imitated voice for no
other reason that they just don't want to open the door

to law enforcement.

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Q. Okay. Right. And that's their righta Correct?
A. So they can either not open the door or open the doora
(Record on Appeal. 459-460).
As such, law enforcement had no legal authority to enter
the Movant's apartment. Given the above testimony and that "physical
entry of the home is the chief evil against which the wording of the

Fourth Amendment is directed," United States v. United States District

 

Court, Eastern District of Michigan, 407 U.S. 297, 313, 92 S.Ct. 7 '

 

2125, 2134, 32 L.Ed.2d 752 (1972), there is a reasonable probability
that had the denial of the motion to supress been preserved, the
outcome of the proceedings would have been different, because
jurist of reason can conclude that this Court erred in denying the
motion to suppress.
C. CONCLUSIGN

As shown above, the Movant does have a legitimate ineffective
assistance of counsel claim that is barred from judicial assessment
because of inadequate assistance on the initial post-conviction
collateral review, just like the petitioner in Martinez. As the
Court noted in Marinez:

A prisoner's inability to present a claim of trial
error is of particular concern when the claim is one
of ineffective assistance of counsel. The right to
effective assistance of counsel at trial is a bedrock
principle in our justice system [.¢.]. lndeed, the
right to counsel is the foundation for our adversary
system. Defense counsel test the prosecution's case
to ensure that the proceedings serve the function of
adjudicating guilt or innocence, while protecting the
rights of the person charged. See, e.g‘, Powell v.
Alabama, 287 U.S. 45, 68-69, 53 S. Ct. 55, 77 L. Ed. 2
158 31932)("[The defendant] requires the guiding hand
of counsel at every step in the proceedings against
him. Without it, though he be not guilty, he faces

the danger of conviction because he does not know how
to establish his innocence"). Effective trial counsel
preserves claims to be considered on appeal. See, e.g.,

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[Fed. R. Crim. P. 52(b)], and in Federal habeas \
proceedings, Edwards v. Carpenter, 529 U.S. 446, 120

S.Ctis 1587, 146 La Eda 2d 518 (2000).

 

ld. at 284-85. Accordingly, this Court should adopt the rational
in Martinez and allow the Movant's § 2255 motion to proceeda
WHEREFORE, the Movant prays for the Court to reconsider
the manner in which it ajudicated judgment, in light of the above
argument, and allow him to raise his ineffective assistance of

counsel claim within his § 2255 motion.

  

Roger Harry Olson, ll, Pro Se.
Reg. Noi: 49151-177

FCl-l, Oakdale. Unit A-2.

PO BOX 5000

Oakdale, LA 71463

CERTIFICATE OF SERVICE

 

l HEREBY CERTIFY, under penalty of perjury, that the
forgoing Motion for Relief from a Final Judgment was deposited
in the prison legal mail system for filing with this Court on
December jiff: 2018, by U.S.P.S. first class pre-paid mail.
S§e 28 U.S.C. § 1746.

al
Executed on December ¢7 , 2018.,:::;> N

 

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Roger Harry Olson, ll

Reg. No. 49151-177

FCl Oakdale l

Federal Correctional lnstitution
P~Oa Box 5000

Oakdale, LA 71463

4 December, 2018

Clerk of Court

U.S. District Court

Northern District of Texas
Dallas Division

1100 Commerce Street, Room 1452
Dallas, TX 75242

RE: Olson v. United States
Civil No. 3:18-cv-1530-N-BN

Dear Clerk of Court:

 
   

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K U.S.
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Enclosed please find my "Motion For Relief From A Final Judgment" for filing

with the court. Also enclosed is an extra front page for you to stamp and

return for my files (self addressed stamped envelope enclosed for your

convenience.)

Sincerely,

 

Roger Harry 01 n, ll

Appearing Pro Se

 

 

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Clerk Of The Distn`o! Court
U.S. District Court
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United States

 

